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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 STUDENT DOE
                                       Plaintiff(s)

                           v.                              Civil Case No. 25-2070

 NOEM, et al.
                                      Defendant(s)

                                          NOTICE

       Please be advised that a STATUS CONFERENCE before the Honorable Catherine

Henry is scheduled for Wednesday, July 9, 2025, at 11:00 a.m. in Chambers, Rm. 5118, United

States Courthouse, 601 Market Street, Philadelphia, Pennsylvania.




                                                           s/Tanya L. Allender
                                                          TANYA L. ALLENDER
                                                          Courtroom Deputy to Judge Henry
                                                          Phone: 610-333-1833



Date: June 25, 2025
Copies sent via ECF notification.
